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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

THE BOARD OF REGENTS OF THE          §
UNIVERSITY OF TEXAS SYSTEM,          §
                                     §
                     Plaintiff,      §
                                     §
v.                                   §
                                     §                  Civil Action No. 4:16-cv-03155
                                     §
NANTHEALTH, INC.;                    §
NANTWORKS, LLC;                      §
NANT HOLDINGS IP, LLC;               §
and DR. PATRICK SOON-SHIONG,         §
                                     §
                     Defendants.     §
____________________________________ §

                 DEFENDANTS’ MOTION TO DISMISS OR TRANSFER

         Pursuant to Rule 12(b)(6) and 12(b)(3) of the Federal Rules of Civil Procedure,

Defendants NantWorks, LLC (“NantWorks”), Nant Holdings IP, LLC (“Nant IP”), and Dr.

Patrick Soon-Shiong (“Dr. Soon-Shiong”) (together, the “California Defendants”) respectfully

move the Court to dismiss this action for lack of personal jurisdiction. In the alternative,

pursuant to 28 U.S.C. § 1404, all of the Defendants, including Defendant NantHealth, Inc.

(“NantHealth”), respectfully move the Court to transfer this action to the United States District

Court for the Central District of California, where all of the Defendants are located and are

subject to personal jurisdiction. Additionally, NantHealth moves for order to stay the time for

NantHealth to answer or otherwise respond to the First Amended Complaint pending the Court’s

decision on this motion, and, along with all other Defendants, moves for an order to stay

discovery on the merits pending the Court’s decision on this motion. This motion is supported

by the accompanying declaration of Dr. Patrick Soon-Shiong (“Decl.”).


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I.       NATURE AND STAGE OF THE PROCEEDINGS

         Plaintiff The Board of Regents of the University of Texas System (“Plaintiff” or the

“Board”) filed this action for federal trademark infringement, common law trademark

infringement, and declaratory relief against four defendants, NantHealth, NantWorks, Nant IP,

and Dr. Patrick Soon-Shiong, based on use of the following trademarks: CANCER

MOONSHOT 2020; CANCER MOONSHOT 2020 FOUNDATION; and CANCER

MOONSHOT NETWORK NEWS (together, the “Nant Marks”) in connection with cancer-

related research, and informational and fundraising services. Plaintiff contends that the Nant

Marks infringe Plaintiff’s alleged rights in the MOON SHOTS, MOON SHOTS PROGRAM,

and CANCERMOONSHOTS.ORG names.

         Plaintiff filed this lawsuit on October 26, 2016. (ECF No. 1.) NantWorks, NantHealth,

and Nant IP were served on October 28, 2016. (ECF No. 9.) Dr. Soon-Shiong was served on

November 17, 2016. (Id.) On November 18, 2016, the parties filed a stipulated motion to extend

the time for all Defendants to answer or otherwise respond to the Summons and Complaint until

December 16, 2016. (ECF No. 6.) The Court granted the motion. (ECF No. 11.) Plaintiff filed

its First Amended Complaint on December 1, 2016. (ECF No. 13.) The Court has scheduled an

initial case conference for January 9, 2017. (ECF No. 4.)

II.      ISSUES BEFORE THE COURT

         A.     Can the Court exercise personal jurisdiction over the California Defendants when

Plaintiff has not pled and cannot show that the California Defendants have sufficient minimum

contacts with the State of Texas? (De novo is the standard of review for dismissal for lack of

personal jurisdiction. Gardemal v. Westin Hotel Co., 186 F.3d 588, 592 (5th Cir. 1999)).

         B.     Alternatively, should the Court transfer this case to the United States District



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Court for the Central District Court of California where all of the Defendants are located and

subject to personal jurisdiction? (A motion to transfer venue is addressed to the discretion of the

trial court and will not be reversed on appeal absent an abuse of discretion. Casarez v. Burlington

Northern/Santa Fe Co., 193 F.3d 334, 339 (5th Cir. 1999) (citing Peteet v. Dow Chemical, 868

F.2d 1428, 1436 (5th Cir. 1989)).

         C.     Should the Court extend the time for NantHealth to respond to the First Amended

Complaint pending the outcome of the present motion? (Farias v. Bexar County Bd. of Trustees

for Mental Health Mental Retardation Serv., 925 F.2d 866, 873 (5th Cir. 1991) (reviewing denial

of motion for enlargement of time under Fed. R. Civ. P. 6(b) for abuse of discretion), cert.

denied, 502 U.S. 866, 112 S. Ct. 193, 116 L. Ed. 2d 153 (1991)).

         D.     Should the Court stay discovery on the merits pending the outcome of the present

motion? (Discovery limitations will be reversed only when arbitrary or clearly unreasonable.

Mayo v. Tri-Bell Industries, Inc., 787 F.2d 1007, 1012 (5th Cir. 1986)).

III.     SUMMARY OF ARGUMENT

         The First Amended Complaint fails to plausibly allege a prima facie case for the exercise

of personal jurisdiction over the California Defendants. The First Amended Complaint’s

jurisdictional allegations are wholly conclusory in nature, devoid of factual allegations necessary

for the Court to conclude that the California Defendants have minimum contacts with the State

of Texas sufficient to satisfy due process and to enable the Court to exercise personal jurisdiction

over them. Accordingly, the Court should dismiss the California Defendants from this action

pursuant to Federal Rule of Civil Procedure 12(b)(2).

         Alternatively, the Court should transfer this action to the United States District Court for

the Central District of California pursuant to 28 U.S.C. § 1404(a). The balance of factors weighs



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in favor of the adjudication of this case in California, where all of the Defendants are subject to

personal jurisdiction.

         Finally, it would be more efficient for NantHealth to answer or otherwise respond to the

First Amended Complaint at the same time as the California Defendants. Moreover, it would be

more efficient for the parties to start discovery after this motion is decided. Accordingly, the

Court should extend the time for NantHealth to answer and stay discovery on the merits for the

entire case until after the Court rules on the California Defendants’ motion to dismiss.

IV.      SUMMARY OF FACTS

         A.     Facts Alleged by Plaintiff the First Amended Complaint

         Plaintiff is a state board established to govern the University of Texas System, a Texas

state agency, whose principal place of business is located in Austin, Texas. (Id. 14.) Plaintiff’s

MD Anderson Cancer Center claims to be a leader in cancer research, treatment, and education

located in Houston, Texas. (Id. ¶¶ 1, 33.) Plaintiff claims to have conceived of the MOON

SHOTS trademark in 2012 for use in connection with an initiative to reduce mortality rates and

eventually cure cancer. (Id. ¶ 2.) Plaintiff claims to own trademark rights in the MOON SHOT,

MOON SHOTS, MOON SHOTS PROGRAM, and CANCERMOONSHOTS.ORG trademarks.

(Id. ¶ 38.) Plaintiff has not cited any federal or state trademark registrations for any of these

marks. (See id. ¶ 38.)

         Plaintiff claims that, in 2015 and 2016, Defendants “jointly and/or severally” began using

trademarks containing the terms MOONSHOT and CANCERMOONSHOT, including

CANCER MOONSHOT 2020, CANCER MOONSHOT 2020 FOUNDATION, and CANCER

MOONSHOT NETWORK NEWS. (Id. ¶ 49.) Plaintiff claims that the Nant Marks are so

similar to Plaintiff’s trademarks that the Nant Marks are “likely to cause confusion, mistake



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and/or deception, all to the irreparable harm of Plaintiff,” its trademarks, and their associated

goodwill. (Id. ¶ 55.) Without differentiating between the separate actions of each Defendant,

Plaintiff lumps all of the Defendants together and generally alleges that the “Defendants’” use of

the Nant Marks constitutes statutory and common law trademark infringement. (Id. ¶¶ 59-78.)

Plaintiff does not allege that any of the California Defendants engaged in any alleged infringing

conduct in Texas. See generally, First Amended Complaint.

         B.      The California Defendants’ Factual Allegations

         Dr. Patrick Soon-Shiong is a trained physician, surgeon and scientist. Over the course of

his career, he pioneered novel therapies for both diabetes and cancer, published over 100

scientific papers, abstracts and book chapters, and am a named inventor on over 230 issued

United States and international patents spanning myriad fields including medicine, artificial

intelligence, and technology. He is currently Chairman & CEO of Defendants NantWorks, LLC,

and NantHealth, Inc., among other positions. (Decl. ¶ 3.)

                1.     Introduction to “Cancer Moonshot 2020”

         This case involves the name of the Cancer MoonShot 2020 program, one of the most

comprehensive, collaborative initiatives launched to date seeking to accelerate the potential of

combination immunotherapy as the next generation standard of care in cancer patients. The

program initiative aims to explore a new paradigm in cancer care by initiating trials involving 20

tumor types in 20,000 patients by 2020. These findings will inform additional trials and the

aspirational “moonshot” to develop an effective vaccine-based immunotherapy to combat cancer

by 2020. (Decl. ¶ 13.) The Cancer MoonShot 2020 program invites collaboration across

pharma, community and academic oncology, government, and scientific communities. This joint

approach would provide researchers with necessary testing materials and patients with more



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opportunities to participate through local facilities and wider insurance coverage. (Decl. ¶ 14.)

         Ultimately, the aim of the moonshot is to win the war on cancer -- to reach a point in five

years where physicians manage cancer the same way they might manage any chronic disease,

such as diabetes or asthma. The goal is to reduce the time from a decade to five years when

doctors can finally stop the practice of administering toxic therapies, such as high-dose

chemotherapy and high-dose radiation that decimate the immune system, and instead transform

cancer care by harnessing the full power of our own innate protective immune system we are

born with, the guardian cell called the Natural Killer cell. By activating the body’s natural killer

cells to fight off the cancer the way they were designed to do and by supplementing with off-the-

shelf Natural Killer cells, the goal is to end cancer as we know it by the year 2020 across all

tumor types and at all stages. (Decl. ¶ 15.)

         2.     History of the “Rocketship” Concept

         Since 1995, Dr. Soon-Shiong had the firm belief that integration and collaboration was

needed to advance science and translational medicine in the field of cancer, diabetes, and life

threatening diseases. (Decl. ¶ 10a.) This insight formed the basis of what was referred to as the

“rocketship” concept in 2009 that lead to the “Cancer MoonShot 2020” program in 2015. Dr.

Soon-Shiong later shared the concept together with a detailed briefing document with Dr. Lynda

Chin on multiple occasions, including a visit by her and Dr. Ronald DePinho. (Decl. ¶ 10b.)

Mr. DePinho is the President of the MD Anderson Institute. Dr. Chin is a physician and

researcher who left MD Anderson in 2015 and is now with The University of Texas System. She

is married to Dr. DePinho.

         Since 2009, Dr. Soon-Shiong built the infrastructure of the “rocketship,” including a

national layer one fiber enabling the transfer of genomic data at terabyte speeds, a supercomputer



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enabling bioinformatics machine learning artificial intelligence to deduce mutations at speeds of

less than 60 seconds per patient enabling clinical utility of cancer genome data. (Decl. ¶ 10d.)

         Details of the program were provided in a briefing document to former President Bill

Clinton in January 2014 and the document was shared with Dr. Chin at around the same time. At

that time, Dr. DePinho and Dr. Chin were invited to participate in a related event as outlined in

the briefing document. (Decl. ¶ 10e.)

         By 2014, after multiple visits with Dr. DePinho and Dr. Lynda Chin, Dr. Soon-Shiong

concluded that there was clear scientific and clinical disagreement regarding the immunotherapy

approach to treating cancer patients. He made the decision not to fund MD Anderson based on

his concern that instituting high-dose chemotherapy is contrary to the concept of preserving the

immune system and contrary to the core principles of Cancer MoonShot 2020. (Decl. ¶ 11.)

                3.     Introduction of “Cancer MoonShot 2020” to the US Government

         Dr. Soon-Shiong’s ideas for a cancer moonshot are what informed Vice President Joe

Biden and his plans for a Government-backed moonshot program. The fight against cancer is a

non-partisan issue. Indeed, in addition to encouraging the current administration, Dr. Soon-

Shiong recently met with President-Elect Donald Trump to encourage his administration to

continue the fight against cancer by establishing a national and global collaborative in which our

innate protective system could be harnessed and change the course of this disease forever. (Decl.

¶ 16.)

         Dr. Soon-Shiong’s discussions with the current administration regarding the fight against

cancer began in 2015, when Vice President Biden contacted Dr. Soon-Shiong around April 2015

seeking advice with regard his son Beau’s brain cancer and a request to interact with the treating

physicians at MD Anderson.” (Decl. ¶ 17.) Dr. Soon-Shiong met with Vice President Biden at



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the White House on October 6, 2015, and presented a white paper he wrote with input from the

Genomics America coalition, titled “The Precision Against Cancer PAC: The Moonshot Program

to Develop a Cancer Vaccine for ‘I am N = 1’” with the concept of a vaccine-based

immunotherapy and the Cancer MoonShot 2020 initiative. He began the paper by explaining

that, “In the way that JFK took us to the moon, this Administration has the opportunity to

complete its own moonshot moment.” (Decl. ¶ 18.)

         Shortly after the meeting on October 6, 2015, Vice President Biden announced on

October 21, 2015 that he would not run for President of the United States, but would pursue his

commitment to the cause of fighting cancer: He stated at the news conference: “I believe we

need a moonshot in this country to cure cancer.” (Decl. ¶ 19.)

         On November 1, 2015, The New York Times published an article on Vice President

Biden’s desire to create a “moonshot” to cure cancer stating that in describing this moonshot,

Vice President Biden was adopting language from Dr. Soon-Shiong to describe his aspiration for

cancer research. The New York Times article states as follows:

         In describing this “moonshot,” Mr. Biden was adopting language used by Dr.
         Soon-Shiong to describe his aspiration for cancer research. The two met for an
         hour in the White House just a few weeks ago, and Dr. Soon-Shiong gave the vice
         president a two-page outline of what he had in mind.”

(Decl. ¶ 20.)

         Vice President Biden wanted to learn more about the complexities of the immune system

and the challenges that face rapid development of life-saving drugs, and requested further

meetings to learn more about Dr. Soon-Shiong’s program. On November 16th, 2015, Vice

President Biden and his staff visited the company campus in Los Angeles for a briefing. (Decl.

¶¶ 21-22.)




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         With these insights, Vice President Biden invited Dr. Soon-Shiong to convene a meeting

of representatives from pharma, payors, FDA, and the National Cancer Institute and medical

oncologists both from academia and community. This four-hour meeting was held on December

1, 2015 at the Vice President’s residence on the Naval Observatory in Washington, D.C. It was

hosted by Vice President Biden, and chaired by Dr. Soon-Shiong. (Decl. ¶¶ 23-26.)

         At the conclusion of the meeting, the participants agreed that a formal announcement of

“Cancer Moonshot 2020” would be made on January 11, 2016, at the nation’s largest health care

conference sponsored by JP Morgan Chase in San Francisco, where CEOs of pharma, payers and

health systems routinely gather every year. The press release announced the launch of the

“Cancer Moonshot 2020” program and the formation of the National Immunotherapy Coalition

(“NIC”). (Decl. ¶ 27.)

         Unbeknownst to Dr. Soon-Shiong (and apparently unbeknownst to Vice President

Biden), the next day, on January 12, 2016, at the State of the Union address, President Obama

announced that Vice President Biden would serve as the head of the government’s version of the

moonshot program, which became known as the “National Cancer Moonshot Initiative.”

Notably, President Obama announced the Government program the day after the NIC announced

the Cancer Moonshot 2020 program. (Decl. ¶ 28.)

         Background regarding the goals of these “moonshot” initiatives was provided in a June

2016 article in Nature Biotechnology. The article describes the various moonshot initiatives,

including the National Cancer Moonshot Initiative, our Cancer Moonshot 2020 Program, and

MD Anderson’s Moon Shots Program. Notably, when expressly asked whether there was any

concern about confusion between the various moonshot programs, none of the representatives




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from any of the programs, including the MD Anderson Cancer Center, expressed any concern.

(Decl. ¶ 29.)

         None of these activities relating to the adoption and use of the Cancer Moonshot 2020

name involved the State of Texas. (Decl. ¶ 35.)

                4.     Background on “moonshot” and the “Cancer 2020 Moonshot” Name

         The word “moonshot” refers to a groundbreaking, ambitious program. It is inspired by

President Kennedy’s aggressive and successful “moonshot” program to put an American on the

moon within a decade of his 1961 speech. “Moonshot” is not a name associated with a single

program or a single entity or organization. It is a generic or descriptive term used by several

organizations in a variety of fields. (Decl. ¶ 36.)

         In January 2016, Nant IP filed trademark applications for “Cancer MoonShot 2020,

“Cancer MoonShot 2020 Foundation,” and “Cancer Moonshot Network News.” The intent was

not to stop others from using their own “moonshot” program names. (Decl. ¶ 37.) The CANCER

MOONSHOT 2020 trademarks were allowed by United States Patent and Trademark Office.

(Decl. ¶ 38.)

                5.     Lack of California Defendants’ Contacts with Texas

         NantWorks is a Delaware limited liability company whose principal place of business is

located in Culver City, California. Nant IP is a Delaware limited liability company whose

principal place of business is located in Culver City, California. NantHealth is a Delaware

corporation whose principal place of business is located in Culver City, California. However,

NantHealth has an office in Dallas, Texas. In contrast, NantWorks and Nant IP do not engage in

business in the State of Texas and have not engaged in business in the States of Texas at least for




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the past few years. Dr. Soon-Shiong resides in California. (Decl. ¶ 39.) For convenience,

NantWorks, Nant IP and Dr. Soon-Shiong will be referred to as the “California Defendants.”

         The California Defendants are not citizens or residents of Texas. (Decl. ¶ 40.)     The

California Defendants do not maintain a place of business in Texas. (Decl. ¶ 41.) The California

Defendants do not maintain offices, mailing addresses, or telephone numbers in Texas. (Decl. ¶

42.)    The California Defendants do not have any employees working in Texas. (Decl. ¶ 43.)

The California Defendants are not licensed, registered, or authorized to do business in Texas.

(Decl. ¶ 44.) The California Defendants are not required to maintain and do not maintain a

registered agent for service of process in Texas. (Decl. ¶ 45.) The California Defendants have

not filed any Articles of Organization or operating agreements in Texas. (Decl. ¶ 46.)       The

California Defendants do not have any bank accounts located in Texas. (Decl. ¶ 47.) The

California Defendants do not own any real property in Texas. (Decl. ¶ 48.) The California

Defendants have not paid any income or property taxes to the State of Texas. (Decl. ¶ 49.) The

California Defendants have not used the CANCER MOONSHOT 2020 marks at issue in

connection with any activity in the State of Texas. (Decl. ¶ 50.)

V.       ARGUMENT

         A.     The First Amended Complaint Fails to Plausibly Allege A Prima Facie Case
                for the Exercise of Personal Jurisdiction Over the California Defendants.

                1.     Introduction

         The Texas long arm statute extends personal jurisdiction to the extent permitted by

federal due process. Ruston Gas Turbines, Inc. v. Donaldson Co., Inc., 9 F.3d 415, 418 (5th Cir.

1993). Two types of personal jurisdiction may be exercised over a nonresident defendant:

general personal jurisdiction and specific personal jurisdiction. Freudensprung v. Offshore Tech.

Serve, Inc., 379 F.3d 327, 343 (5th Cir. 2004). Under either a general or specific jurisdiction


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analysis, the “constitutional touchstone” is whether the defendant purposefully established

‘minimum contacts’ in the forum state.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 105 S.

Ct. 2174 (1985). The exercise of jurisdiction must not offend “traditional notions of fair play

and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (citations

omitted). The defendant’s connections with the forum state must demonstrate that the defendant

“should reasonably anticipate being haled into court in the forum state.” J-L Chieftan, Inc. v.

Western Skyways, Inc., 351 F. Supp. 2d 587 (E.D. Tex. 2004) (citations omitted).

         The question of whether a forum State may assert specific jurisdiction over a nonresident

defendant “focuses on ‘the relationship among the defendant, the forum, and the litigation.’”

Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 775, 104 S. Ct. 1473, 79 L. Ed. 2d 790 (1984)

(quoting Shaffer v. Heitner, 433 U.S. 186, 204, 97 S. Ct. 2569, 53 L.Ed.2d 683 (1977)). The

relationship must arise out of contacts that the “defendant himself ” creates with the forum State.

Walden v. Fiore, __ U.S. __, 134 S. Ct. 1115, 1122, 188 L. Ed 2d 12 (2014) (emphasis in

original). Thus, a plaintiff cannot create personal jurisdiction by pointing to its own contacts

with the forum state. Id. (citing Hanson v. Denckla, 357 U.S. 235, 253-54, 78 S. Ct. 1228, 2 L.

Ed. 2d 1283 (1958).

         Plaintiff bears the burden of proving this Court’s personal jurisdiction over the

Defendants. Fielding v. Hubert Burda Media, Inc., 415 F.3d 419, 424 (5th Cir. 2005); Quick

Technologies, Inc. v. Sage Group PLC, 313 F.3d 338, 343 (5th Cir. 2002). Plaintiff is required

to plead sufficient facts in the Complaint to establish a prima facie case of jurisdiction. Bullion

v. Gillespie, 895 F.2d 213, 217 (5th Cir. 1990).          The Court may accept as true only

uncontroverted allegations and only if those allegations are not conclusory. Central Freight

Lines, Inc. v. APA Transport Corp., 322 F.3d 376, 380 (5th Cir. 2003); J.R. Stripling v. Jordan



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Prod. Co., LLC., 234 F.3d 863, 869 (5th Cir. 2000). Indeed, the prima facie case requirement

does not demand that this Court credit conclusory allegations, even if they remain

uncontroverted. Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869 (5th

Cir. 2001).

         As discussed below, Plaintiff has not satisfied its burden. The First Amended Complaint

does not plausibly allege that the California Defendants are subject to general or specific

personal jurisdiction in Texas. As discussed below, the First Amended Complaint is devoid of

facts showing that any of the California Defendants have such “continuous and systematic”

contacts with Texas that they can be said to be at “home” there. Nor does the First Amended

Complaint allege that the California Defendants have engaged in activities targeting Texas, from

which Plaintiff’s claims arise.

         Furthermore, Plaintiff's failure to identify the specific Texas contacts of each individual

defendant is fatal. See Calder v. Jones, 465 U.S. 783, 790 (1984) (“Each defendant's contacts

with the forum state must be assessed individually”); Atlantigas Corp. v. Nisource, Inc., 290 F.

Supp. 2d 34, 42 (D.D.C. 2003) (“Plaintiff cannot aggregate factual allegations concerning

multiple defendants in order to demonstrate personal jurisdiction over any individual

defendant.”)

                2.      The First Amended Complaint Fails to Allege a Prima Facie Case for
                        the Exercise of General Personal Jurisdiction Over the California
                        Defendants.

         The standard for establishing general personal jurisdiction is demanding. General

personal jurisdiction only exists where a defendant is shown to have substantial “continuing and

systematic contacts” with the forum state. Jones v. Petty-Ray Geophysical Geosourse, Inc., 954

F.2d 1061, 1068 (5th Cir. 1992), cert. denied, 506 U.S. 867 (1992). “[t]he inquiry . . . is whether



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[a defendant’s] ‘affiliations with the State are so ‘continuous and systematic’ as to render [it]

essentially at home in the forum State.” Daimler AG v. Bauman, __ U.S. __, 134 S. Ct. 746,

761, 187 L. Ed. 2d 624 (2014) (internal quotation omitted). A court can adjudicate claims that

are unrelated to a defendant’s contact with the forum state only when there is general personal

jurisdiction.   Freudensprung, 379 F.3d at 343.       Plaintiff bears the burden of proof that

jurisdiction over the non-resident defendants is proper. Fielding v. Hubert Burda Media, Inc.,

415 F.3d 419, 424 (5th Cir. 2005).

         Plaintiff cannot meet that burden here.     General personal jurisdiction turns on the

assessment of “contacts of the defendant with the forum over a reasonable number of years, up to

the date the suit was filed.” Access Telecom, Inc. v. MCI Telecom. Corp., 197 F.3d 694, 717 (5th

Cir. 1999).     The exercise of general personal jurisdiction over a non-resident defendant is

appropriate only where the defendant's activities in the forum state are so “substantial” or

“continuous and systematic” that the defendant may be deemed present in the forum.

Helicopteros Nacionales De Columbia S.A. v. Hall, 466 U.S. 408, 415 (1984). The court does

not view each contact in isolation.      Rather, all contacts must “be carefully investigated,

compiled, sorted, and analyzed for proof of a pattern of continuing and systematic activity.” J-L

Chieftan, Inc. v. Western Skyways, Inc., 351 F. Supp. 2d 587 (E.D. Tex. 2004) (quoting

Schlobohm v. Schapiro, 784 S.W.2d 355, 359 (Tex. 1990); see also American Type Culture

Collection, Inc. v. Coleman, 83 S.W.3d 801, 806 (Tex. 2002).          Because general personal

jurisdiction requires a showing that the defendant conducted substantial activities within the

forum, it requires a far more demanding minimum contacts analysis than for specific personal

jurisdiction. Gardemal v. Westin Hotel Co., 186 F.3d 588, 595 (5th Cir. 1999).

         Plaintiff does not allege that the California Defendants have substantial continuous and



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systematic contacts with Texas that would satisfy the heightened scrutiny required for general

jurisdiction. Notwithstanding this failure, the facts establish that the California Defendants have

no contacts, let alone sufficient minimum contacts, with Texas to justify the exercise of general

jurisdiction over them. (Soon-Shiong Decl. ¶¶ 39 to 49.) The California Defendants do not

maintain an office, mailing address, or telephone number in Texas and are not required to

maintain, do not maintain, and have never maintained a registered agent for service of process in

Texas. (Id.) Moreover, the California Defendants do not maintain a place of business in Texas

nor have the California Defendants ever had employees working for them in Texas. (Id.) The

California Defendants are not registered or authorized, and have never been registered or

authorized, to do business in Texas and have not filed any Articles of Organization or

Incorporation with the State of Texas. (Id.) Additionally, the California Defendants do not own

any real property in Texas, do not have any bank accounts in Texas, and have never paid any

income or property taxes in Texas. (Id.)

         Simply stated, the California Defendants do not engage in business in Texas. Therefore,

the Court cannot assert general jurisdiction over them. See J.D. Fields & Co., Inc. v. W.H. Streit,

Inc., 21 S.W.3d 599, 602 (Tex. App.-Houston [1st Dist.] 2000) (finding no general jurisdiction

where defendant company “is not licensed to do business in Texas, does not maintain a

registered agent for service of process in Texas, does not own or lease property in Texas ... [and]

has never had any offices, employees, mailing addresses, or telephone listing in Texas”).

         Furthermore, although not determinative, “foreseeability” is an important consideration

in deciding whether a nonresident defendant has purposefully established “minimum contacts”

with the forum state. Guardian Royal Exch. Assurance, Ltd. v. English China Clays, P.L.C., 815

S.W.2d 223, 227 (Tex. 1991). For a plaintiff to prevail, the actions of the nonresident defendants



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must justify a conclusion that they should have reasonably anticipated being called into court in

the forum state. Temperature Sys. Inc. v. Bill Pepper, Inc., 854 S.W.2d 669, 675 (Tex. App.

1993). Here, the California Defendants could not have foreseen that their alleged use of the Nant

Marks would subject them to personal jurisdiction in Texas, a state in which they do not and

have never conducted business. Indeed, the Plaintiff did not own and had not applied for any

trademark applications for the MOON SHOT marks at the time that the Defendants’ allegedly

adopted the Nant Marks. (Soon-Shiong Decl. ¶ __.) “Moonshot” refers to a groundbreaking

program. (Id. ¶ __.) “Moonshot” is not itself a trademark or name associated with a single

program or single entity or organization. It is a generic or descriptive term used by several

organizations. (Id. ¶ __.) It refers to President Kennedy’s aggressive and successful “moonshot”

program to put an American on the moon within a decade of his 1961 speech announcing the

program. (Id. ¶ __.) In addition, Plaintiff was using “moonshot” in a descriptive sense, not as a

trademark.

                3.      The First Amended Complaint Does Not Allege a Prima Facie Case
                        For the Exercise of Specific Personal Jurisdiction Over the California
                        Defendants.

         Likewise, Plaintiff cannot establish that the Court has specific personal jurisdiction over

the California Defendants. Specific personal jurisdiction arises only when the defendant’s

specific contacts with the forum create claims related to those specific contacts in the forum.

Lewis v. Fresne, 252 F.3d 352, 358 (5th Cir. 2001). Specific personal jurisdiction is limited,

however, because it only extends to those claims that arise out of or relate to the specific

activities of the defendant within the forum. Panda Brandywine, 253 F.3d at 868; Gardemal v.

Westin Hotel Co., 186 F.3d 588, 595 (5th Cir. 1999) (to establish specific personal jurisdiction,

“the defendant must have purposefully directed his activities at the residents of the forum, and



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the litigation must result from the alleged injuries that ‘arise out of or relate to’ the defendant's

activities directed at the forum.”).

         More precisely, specific personal jurisdiction requires that a foreign defendant purposely

direct his or her activities at the forum state, and further requires that the litigation result from

alleged injuries that arise out of or relate to those forum-directed activities. Religious Tech. Ctr.

v. Liebreich, 339 F.3d 369, 375 (5th Cir. 2003) (emphasis added). This “purposeful availment”

requirement exists so that a defendant will not be hauled into a jurisdiction as a result of

“random,” “fortuitous,” or “attenuated” contacts, or by any of the “unilateral activity of another

party or a third person.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985).

         In 2014, the Supreme Court clarified that the defendants’ “suit-related conduct must

create a substantial connection with the forum State.” Walden, __ U.S. __, 134 S. Ct. at __, 188

L. Ed 2d at __. Under Walden, the fact that a plaintiff suffered foreseeable negative effects in

the forum is not enough to authorize jurisdiction where the location of the harm is not tied to the

defendant’s conduct. Id. Thus, the mere fact that the Board is located in Texas and allegedly

suffered harm there is insufficient. Id.

         Specific personal jurisdiction is plainly lacking here.     Plaintiff has not alleged any

specific facts or activities by the California Defendants directed at Texas. Plaintiff cannot

establish that its claims arise from the California Defendants’ Texas-directed activities and,

indeed, there are no such activities. In fact, all of the events that took place relating to the

formation, adoption and use of the Nant Marks at issue in this case, occurred in California and

other locations outside of Texas.          See Decl. ¶¶ 10-31.   For example, in Fogo de Chao

Churrascaria (Holdings) LLP v. Fogo E Brasa, L.L.C., No. 3:03-CV-1351-B, 2004, WL

2607984 (N.D. Tex. Nov. 17, 2004), the court rejected plaintiff's argument that the court could



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exercise specific jurisdiction over the defendant, a restaurant in Arizona that allegedly infringed

the plaintiff’s trademark, because the plaintiff was located in Texas and allegedly suffered injury

there.   The plaintiff argued that specific jurisdiction exists because the alleged trademark

infringement “sounds in tort” and thus “courts in the State of Texas, where the alleged tort victim

resides, may exercise jurisdiction over [defendant].” The court rejected this notion, stating that

“the Fifth Circuit in Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 868 -

69 (5th Cir. 2001), held that the mere effect of a defendant's allegedly tortious activity ‘is not a

substitute for a nonresident's minimum contacts that demonstrate purposeful availment of the

benefits of the forum state.’” Id. at *4. (Emphasis added.)

         Here, the Plaintiff has failed to identify any forum-specific activity by the California

Defendants with respect to use of the Nant Marks, let alone a substantial connection.

                3.     The First Amended Complaint Fails to Allege Facts Sufficient to
                       Impute the Texas Contacts of NantHealth to the California
                       Defendants.

         In the absence of any evidence of forum-related activities by the California Defendants,

Plaintiff attempts to bootstrap personal jurisdiction over the California Defendants by imputing

the contacts of NantHealth with Texas to the California Defendants.           The First Amended

Complaint does not plausibly allege any specific factual basis for disregarding the legal

separateness of any of the Defendants or for imputing the jurisdictionally relevant contacts of

any Defendant upon any other Defendant.

         Texas law recognizes that the corporate form can be disregarded in certain circumstances.

See Castleberry v. Branscum, 721 S.W.2d 270, 272–73 (Tex. 1986). One of the bases for doing

so is the alter ego doctrine, whereby “a corporation is organized and operated as a mere tool or

business conduit of another corporation.” Id. at 272. Proof of imputed contacts or an alter ego



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relationship may be the basis for exercising jurisdiction over a non-resident defendant. See BMC

Software Belg., N.V. v. Marchand, 83 S.W.3d 789, 798 (Tex. 2002); see also Hargrave v.

Fibreboard Corp., 710 F.2d 1154, 1160 (5th Cir. 1983).           The Texas Supreme Court has

“acknowledged that jurisdictional veil-piercing and substantive veil-piercing involve different

elements of proof” given that jurisdiction implicates due process considerations that cannot be

overridden by statutes or common law. PHC–Minden, L.P. v. Kimberly–Clark Corp., 235

S.W.3d 163, 174–75 (Tex. 2007).          The court outlined the following factors relevant for

jurisdictional veil-piercing:

         To “fuse” the parent company and its subsidiary for jurisdictional purposes, the
         plaintiffs must prove the parent controls the internal business operations and
         affairs of the subsidiary. But the degree of control the parent exercises must be
         greater than that normally associated with common ownership and
         directorship; the evidence must show that the two entities cease to be separate
         so that the corporate fiction should be disregarded to prevent fraud or injustice.

PHC–Minden, 235 S.W.3d at 175 (quoting BMC Software, 83 S.W.3d at 799) (emphasis added).

Other factors to consider are “the amount of the subsidiary’s stock owned by the parent

corporation, the existence of separate headquarters, the observance of corporate formalities, and

the degree of the parent’s control over the general policy and administration of the subsidiary.”

Id. (citing 4A Wright & Miller, Federal Practice & Procedure § 1069). However, “[a] subsidiary

corporation will not be regarded as the alter ego of its parent merely because of stock ownership,

a duplication of some or all of the directors or officers, or an exercise of the control that stock

ownership gives to stockholders.” Id. (quoting Gentry v. Credit Plan Corp., 528 S.W.2d 571,

573 (Tex. 1975)) (emphasis added). There must be a “plus factor, something beyond the

subsidiary’s mere presence within the bosom of the corporate family.” Id. at 176 (quoting

Dickson Marine, Inc. v. Panalpina, Inc., 179 F.3d 331, 338 (5th Cir. 1999)). Not pertinent to

jurisdictional veil piercing analysis, however, are allegations of fraud and a common name


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among the entities. Id. at 175.

         The First Amended Complaint attempts to allege, through mere conclusions, that

NantHealth’s contacts with Texas should be attributed to the California Defendants. The First

Amended Complaint states, in relevant part, the following:

         Upon further information and belief, through its close relationship with the other
         Defendants [and] its direction and/or control of the other Nant Entities . . . Nant
         Works has also willfully, intentionally, and/or knowingly infringed or otherwise
         violated the trademark rights of Plaintiff . . . .

(First Am. Compl. ¶ 25.)

         Upon further information and belief, through its close business and licensing
         relationships with the other Defendants . . . Nant Holdings IP has . . . willfully,
         intentionally, and/or knowingly infringed or otherwise violated the trademark
         rights of Plaintiff . . . .

(First Am. Compl. ¶ 26.)

         [U]pon information and belief, Soon-Shiong, through his close relationship with
         the other Defendants [and] through his direction and control over the other
         Defendants . . . has willfully, intentionally, and/or knowingly infringed or
         otherwise violated the trademark rights of Plaintiff . . . .

(First Am. Compl. ¶ 27.)

         These allegations should be disregarded because they are merely conclusory allegations

entitled to no weight. Central Freight Lines, Inc., 322 F.3d at 380 (holding court may accept as

true only uncontroverted non-conclusory allegations); Panda Brandywine Corp., 253 F.3d at 869

(even uncontroverted conclusory allegations not credited).        The First Amended Complaint

contains no specific factual allegations that would allow the Court to disregard the legal

separateness of Dr. Soon-Shiong, NantHealth, NantWorks, or Nant IP and show that they are the

alter egos of one another. For example, the First Amended Complaint fails to set forth facts

establishing that NantWorks controls NantHealth to such an extreme degree that its Texas

contacts should be imputed to them, or vice versa. The same is true as to Nant IP. Similarly, the


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First Amended Complaint fails to allege that Dr. Soon-Shiong controls NantHealth to such an

extreme degree that its Texas contacts should be attributed to him.1 Indeed, the Plaintiff has

failed to allege any facts establishing that any of the Defendants cease to be separate individuals

or entities such that they should be viewed as one and the same.

         Furthermore, the First Amended Complaint fails to allege, for any of the California

Defendants: (1) the amount of stock owned in any other Defendant; (2) the existence, vel non

and degree to which any of the Defendants have common officers and directors; (3) the degree to

which the Defendants observed corporate formalities; (4) whether the Defendants maintain

separate accounting systems, books, or records; (5) the existence of control over any other

Defendant’s general policy; or (6) the existence of control over the daily activities of any other

Defendant. See Hargrave, 710 F.2d at 1154 (listing factors considered in alter ego analysis).

         Accordingly, and for all of the reasons set forth above, the First Amended Complaint fails

to plausibly allege a prima facie case for the exercise of personal jurisdiction over the California

Defendants.

         B.       Alternatively, this Case Should Be Transferred to the Central District of
                  California Where All of the Defendants are Located.

         Even if this Court has personal jurisdiction over the California Defendants, the Court

should still transfer this case to the United States District Court for the Central District of

California. Under 28 U.S.C. § 1404(a), a district court may transfer any civil action to any other

district where it might have been brought “[f]or the convenience of parties and witnesses” and

“in the interest of justice.” “The determination of ‘convenience’ turns on a number of private and
1
   While the First Amended Complaint does allege that Nant IP has licensed the Nant Marks to other Nant entities
(First. Am. Compl. ¶ 26), the mere fact that a licensor-licensee relationship exists is not a sufficient basis for
exercising general personal jurisdiction unless a plaintiff alleges facts showing that the licensor does, in fact, control
how the allegedly infringing marks are used in the marketplace. See, e.g., Eco Pro Painting, LLC v. Sherwin-
Williams Co., 807 F. Supp. 2d 732, 736-37 (N.D. Ill. 2011) (“As a general rule, personal jurisdiction does not exist
over a licensor by virtue of its status if it does not exercise control over the licensee's sales activities and has no
dealings with the licensee ‘beyond the receipt of royalty income.’”).

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public interest factors, none of which are given dispositive weight.” In Re Volkswagen AG, 371

F.3d 201, 203 (5th Cir. 2004). The “private concerns” factors include: “(1) the relative ease of

access to sources of proof; (2) the availability of compulsory process to secure the attendance of

witnesses; (3) the cost of attendance for willing witnesses; and (4) all other practical problems

that make the trial of a case easy, expeditious, and inexpensive.” Id. The “public concern” factors

include: “(1) the administrative difficulties flowing from court congestion; (2) the local interest

in having localized interests decided at home; (3) the familiarity of the forum with the law that

will govern the case; and (4) the avoidance of unnecessary problems of conflicts of laws of the

application of foreign law.” Id. As shown below, all of these factors favor transfer of this action.

         The private concerns weigh in favor of transferring the case to California. All of the

Defendants are based in California. All of Defendants’ witnesses are located in California, as are

any of their documents relevant to the case. In contrast, the Plaintiff is based in Austin, Texas,

not in this judicial district. Overall, the great “cost of attendance for willing witnesses,” along

with the overall expenses of maintaining this suit in Texas, support transferring the case to

California.

         The public concerns also weigh in favor of transferring this case to California. The

courts are less congested in the Central District of California. There are 681 cases pending per

judge in this district with an average time to trial of 23.4 months. See United States District

Court – National Judicial Caseload Profile (June 2016). There are 441 cases pending per judge

in the Central District of California with an average time to trial of 19.8. Id. While Texas may

have a local interest in deciding a case involving the Board, the case at heart involves national

interests, namely, whether “moonshot” is a descriptive or generic term such that any of the

interested parties, including the Board, the Defendants, the U.S. Government, and others, have a



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right to use the word in connection with programs of national interest, namely, finding a cure for

cancer. Finally, there is no particular advantage of this Court in applying the law. This is

primarily a case involving the application of federal trademark law.

         Plaintiff will undoubtedly argue that its choice of forum should be afforded great

deference. However, the law is to the contrary under these circumstances. “[I]t is clear under

Fifth Circuit precedent that the plaintiff's choice of forum is clearly a factor to be considered but

in and of itself it is neither conclusive nor determinative.” In Re Horseshoe Ent’mt, 337 F.3d

429, 434 (5th Cir. 2003). Specifically, when “none of the operative facts occur within the forum

of original selection, the plaintiff’s choice is entitled to only minimal consideration.” Morgan v.

Illinois Central Railroad Co., 161 F. Supp. 119, 120 (S.D. Tex. 1958) (emphasis added). As

demonstrated above, Plaintiff's choice of forum should be afforded minimal weight, because all

of the Defendants and most of the witnesses are located in California and Plaintiff is not located

in this judicial district.

         Accordingly, the Court should transfer this case to the Central District of California.

         C.      The Court Should Extend the Time for NantHealth to Answer Until After it
                 Decides This Motion.

         The Court has broad discretion to extend the time for NantHealth to answer. U.S. ex rel.

Long v. GSDMIdea City, L.L.C., 798 F.3d 265, 275-76 (5th Cir. 2015) (“[D]istrict courts have

broad discretion under Rule 6(b) to expand filing deadlines”). Here, extending the time for

NantHealth to answer or otherwise respond to the First Amended Complaint until after the Court

has decided the present motion will best serve the interests of judicial and party economy. If the

Court dismisses or transfers this case, then NantHealth will be in the same position as the

California Defendants. If the Court does not dismiss or transfer this case, then NantHealth will

promptly respond to the First Amended Complaint and proceed with discovery as the Court


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directs.

           D.     Discovery on the Merits Should Be Stayed Pending the Outcome Of This
                  Motion.

           The Court should stay discovery on the merits until the Court decides this motion to

dismiss. Expensive and involved discovery should be deferred until the dispositive motions on

jurisdiction are heard. See Scroggins v. Air Cargo, Inc., 534 F.2d 1124, 1133 (5th Cir. 1976)

(trial court may properly exercise its discretion to stay discovery pending a decision on a

dispositive motion).

           Moreover, if the Court dismisses Nant IP from this case, the entirety of this lawsuit

should be dismissed. Nant IP, the owner of the Nant Marks, is an indispensable party that must

be joined under Federal Rule of Civil Procedure 19. Soon-Shiong Decl. ¶ 3; American Rice,

Inc., v. Producers Rice Mill, Inc., No. H-05-3227, 2006 WL 1984592 at *9 (S.D. Tex. July 14,

2006), (“Under Rule 19 owners of trademarks are usually treated as necessary and indispensable

parties in a trademark case.”); see, e.g., Ass’n of Co-operative Members, Inc. v. Farmland Indus.

Inc., 684 F.2d 1134, 1143 (5th Cir. 1982). Trademark owners are usually indispensable parties

because they have an interest in being able to fully exploit their marks that might be impaired if

the opposing party prevails. See Jaguar Cars Ltd. v. Manufactures Des Montres Jaguar, 196

F.R.D. 306, 308 (E.D. Mich. 2000); see also Lisseveld v. Marcus, 173 F.R.D. 689, 693 (M.D.

Fla. 1997) (noting that this situation typically arises when the licensee of a trademark asserts its

rights against an alleged infringer without joining the licensor). Therefore, if this Court does not

have jurisdiction over Nant IP, the entirety of this lawsuit must be dismissed for failure to join an

indispensable party, and the Court need not consider whether there is personal jurisdiction over

any of the other Defendants.




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VI. CONCLUSION

         The Court should grant Defendants’ motion to dismiss or transfer and, pending the

Court’s ruling on this motion, extend NantHealth’s time for answering the Complaint and stay

discovery.

Dated: December 16, 2016                  Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       This is to certify that on December 16, 2016, a true and correct copy of the foregoing
document was served on all counsel of record with the Clerk of the Court using the Electronic
Case File System of the Southern District of Texas.



                                                         /s/ Jeremy Doyle
                                                         Jeremy Doyle




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